oO ON Oo nA FF WO NY =

MO MO NM NM DH NHB NY YM NO | | AH] FP FF tPrr2ao-a 2a
ont ou sk OW NY B= OD O© DAN DO NO FF WwW DY =

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
JOHN STEVEN OLAUSEN, . Case No. 3:19-cv-00549-RFB-CBC
Plaintiff ORDER

V.
G. CARPENTER, et al.,

Defendants

 

 

 

I. DISCUSSION

Plaintiff, who is an inmate in the custody of the Nevada Department of Corrections
(‘NDOC’”), has submitted a civil rights complaint under 42 U.S.C. § 1983. (ECF No. 1-1).
Plaintiff has neither paid the full filing fee for this matter nor filed an application to proceed
in forma pauperis.

Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, Plaintiff must complete an
application to proceed in forma pauperis and attach both an inmate account statement
for the past six months and a properly executed financial certificate. The Court will retain
Plaintiff's civil rights complaint (ECF No. 1-1), but will not file it until the matter of the
payment of the filing fee is resolved. Plaintiff will be granted an opportunity to file an
application to proceed in forma pauperis, or in the alternative, pay the full filing fee for this
action. If Plaintiff chooses to file an application to proceed in forma pauperis he must file
a fully complete application to proceed in forma pauperis, including both an inmate
account statement for the past six months and a properly executed financial certificate.
Il. CONCLUSION

For the foregoing reasons, IT |S ORDERED that the Clerk of the Court WILL SEND
Plaintiff the approved form application to proceed in forma pauperis by a prisoner, as well
as the document entitled information and instructions for filing an in forma pauperis
application.

IT IS FURTHER ORDERED that within thirty (30) days from the date of this order,

 
0 Oo ON OD oO fF WO NY =|

hm PMO PMO NY NY DB NO NY YO FP Fe HF SP FP SP FP 2S es
ont oa KR © NYO += OC O© DAN ODO oO fF W NY =

 

Plaintiff must either: (1) file a fully complete application to proceed in forma pauperis, on
the correct form with complete financial attachments in compliance with 28 U.S.C. §
1915(a); or (2) pay the full $400 fee for filing a civil action (which includes the $350 filing
fee and the $50 administrative fee).

IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,
dismissal of this action may result.

IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
(ECF No. 1-1) but will not file it at this time.

DATED this oie day of September, 2019.

 
  

AGISTRATE JUDGE

 
